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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


KAREN BOSTEK,                                  )     CASE NO: 3:16-cv-02416-JJH
                                               )
       Plaintiff,                              )     JUDGE JEFFREY J. HELMICK
                                               )
v.                                             )
                                               )
NORFOLK SOUTHERN RAILWAY                       )     STIPULATION FOR DISMISSAL
COMPANY,                                       )
                                               )
       Defendant.                              )



       The parties hereby stipulate that this matter may be marked “settled and dismissed with prejudice,

each party to bear its own costs” and that the Court may enter an order accordingly, notice by the Clerk

being hereby waived.

       The court retains jurisdiction to enforce the settlement.


                                                        IT IS SO ORDERED


                                                        _________________________
                                                        Judge Jeffrey J. Helmick

Approved:


/s/ Benjamin J. Wilensky
Arvin J. Pearlman (PHV)
Benjamin J. Wilensky
Attorneys for Plaintiff


 /s/ Sheila A. McKeon
Sheila A. McKeon (0012067)
Jason G. Marsico (PHV)
Attorneys for Defendant
